        Case 1:20-cr-20217-CMA Document 1 Entered on FLSD Docket 10/30/2020 Page 1 of 12
                                                                                                   FluEouy Y H        n.c-

                                                                                                     Oct 30,2020
                                            UNITED STATES DISTRICT COURT                             tANGj
                                                                                                       t LAE.NOBLE
                                           S T F                    C OF FLORIDA                     sDE.RDF
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    ,                           20-202          -        -               An       TO R R ES
    ;
    ;
                                          cAsI-No.
                                                        18U.S.C.j l956(h)
                                                        18U.S.C.j1956(a)(2)(A)
                                                        18U.S.C.j982(a)(1)
             UN ITED STA TES O F A M E RICA ,

             VS.


             CLAUDIA PATRICIA DIAZ GUILLEN and
             ADRIAN JOSE VELASQUEZ FIGUEROA,
,
                                      p efendants.
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:                           -   .                                                 /
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                                                        jN1FOR I
                                                               M .A'CIO N
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:                      The U nited Stateschargesthat:



1                      Atal1tim esrelevantto this lnform ation,
I                                                                 unlessothcrwisespecilied:
1
è                      1.       Defendant,CLAUDIA PATRICIA DIAZ G UILLEN,wasacitizcnand nationalof
!
            Venezucla. From in or around 2011 through in or around 2013, CLA UD IA PATR ICIA D IA Z

;           G UILLEN served as the National Treasurer of Venezuela. w ith decision-lnaking authority and
l
            inlluencewithintheOficinaNacionaldelTesoro(tl:eitvenezuelanNationalTreasury'').CLAUDIA
J
            PATRICIA D IA Z G UILLEN was a Hforeign official''as thatterm is used in the Foreign Corrupt

            PracticesAct('ïI7CPA''),Title15,UnitedStatesCode,Sections78dd-2(h)(2)(A)and78dd-3(9(2)(A),
;                      2.       Dcfendant. ADRIAN JOSE VELASQ UEZ FIGUEROA, was the spouse of
1                  .
i
j           CLAUDIA PATRTCIA DIAZ GIJILLEN andacitizenalldnationalofvenezuela.
j
1                      3        RaulGorrinBelisariowasacitizenandnationalofvenezuela,w hoatvariousperiods
l
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                        *       .
            ofthe conspiracy w as aresidentof-the United States,having m aintained a residence in CoralG ables,

i
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'j
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   Florida. RaulGorrinBelisariowasaSçdom esticconcem ''asthattenn isusedin theFCPA,Title 15,

   UnitedStatesCode,Sections78dd-2(a)and78dd-2(h)(1).
                  tçcom pany 1'' was a com pany incop orated and registered in Panam a, and w as

   beneficially controlled by RaulGonin Belisario.

          5.      (tcom pany 2'' was a com pany incorporated and registered in Panam a, and w as

   beneficially controlled by RaulGorlin Belisario.

                  tlcom pany 3''w as a com pany incorporated and registered in Panam a, and w as

   beneficially controlled by RauiGonin Belisario.

                  Alejandro Andrade Cedeno wasa citizen and nationalofVenezuela. From in or
   around2007throughinoraround2010,AlejandroAndradeCedenoservedastheNationalTreasurer
   of Venezuela, with decision-m aking authority and influence w ithin the V enezuelan N ational

   Treasury.

                                             CO UNT 1
                              Conspiracy to Com m itM oney Laundering
                                          (18U.S.C.j1956(h))
          8.     Paragraphs 1tikrough 7 ofthisInform ation arerealleged and incorporated by reference

   asthough fully setforthherein.

          9.     From in oraround 2008,through in oraround 2017,in M inm i-Dade County and Palm

   Beach County,in the Southern D istrictofFlorida,and elsewhere,thedefendants,

                              CLA UDIA PA TRICIA DIAZ G UILLEN
                          and ADRIAN JOSE VELASQUEZ FIGUEROA,
   did know ingly and willfully com bine, conspire,confederate, and agree with each other and with

   others known and unknow n to the United States to violate Title 18,United States Code,Section

   1956(a)(2)(A),thatis,to knowingly transport,transmit,and transfer,and attemptto transport,
   transm it,and transfer a m onetary instrum ent and funds to a place in the U nited States from and

   through a place outside the U nited States w ith the intent to prom ote the carrying on of specified
                                                   2
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   unlawfulactivity,thatis,(a)aviolation oftheFCPA underTitle 15,United StatesCode,Sections
   78dd-2and78dd-3,and(b)r offenseagainstaforeignnationinvolvingbriberyofapublicofficialand
   themisappropriation,theft,and em bezzlem entofpublicfundsby orforthebenefitofa publicofficial,

   inviolationofTitle18,UnitedStatesCode,Section 1956(a)(2)(A),tùwit,CLAUDIA PATRICIA
   DIAZ GUILLEN and ADRIAN JOSE VELASQUEZ FIGUEROA agreed with RaulGonin
   Belisario and others,to transport,transm it,transfer,and cause to be transported,transm itted,and

   transferred fundsfrom Switzerland totheUnited States,in orderto prom otea bribery schem eto offer,

   prom ise,authorize, and pay m oney and other things of value to foreign officials in V enezuela,

   includingAlejandroAndradeCedenoandCLAUDIA PATRICIA DIAZ GUILLEN,toobtainand
   retain busincssfor,and directbusiness to,RaulGorrin Belisario.

          Al1inviolationofTitle18,UnitedStatesCode,Section 1956(h).
                                M annerand M eans ofthe C onspiracv

          10.    The m anner and m eans by w hich CLA U DIA PATR ICIA D IA Z G UILLEN ,

   ADRIAN JOSE VELASQUEZ FIGUEROA,and otherco-conspiratorssoughtto accomplish the
   objectandpurposeoftheconspiracyincluded,amongothers,thefollowing:
                 a.     RaulGorrin Belisario,togetherw ith others,while in the Southern D istrictof

   Florida and elsewhere,discussed in person m aking bribepaym entsto foreign officials in V enezuela,

   includingAlejandroAndradeCedenoandCLAUDIA PATRICIA DIAZ GUILLEN,tosecuretheir
   assistance in aw arding contractsto RaulGorrin Belisario.

                 b.     RaulGorrin Belisario,togetherwith others,while in the Southern Districtof

   Florida and elsewhere, did offer, prom ise,authorize,pay, and agree to pay bribes, directly and

   indirectly,to and forthebenefitofforeign officialsin Venezuela,including Alejandro Andrade
   Cedeno and CLA UDIA PATR ICIA D IA Z G UILLEN , to secure their assistance in aw arding

   businessand providing businessadvantagesto RaulGorrin Belisario.

                                                  3
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                 C.      RaulGonin Belisazio,togetherwith others,while in the Southern Districtof

   Florida and elsew here,used Com pany 1,Com pany 2,and Com pany 3 bank accounts,and his own

   personalbnnkaccountatHSBC PrivateBank (Suisse)SA,asaconduitforthepaymentofbribesto
    foreign officialsin Venezuela,including AlejandroAndradeCedeno and CLAUDIA PATRICIA
   DIAZ G UILLEN ,to prom ote the illegalbribery schem e.

                 d.      Raul Oon'in Belisario, CLA UD IA PATR IC IA DIAZ G UILLEN , and

   ADRIAN JOSE VELASQUEZ FIGUEROA,togetherwith others,whilein theSouthern District
   ofFlorida and elsewhere,did cause to be w ired certain fundsfrom thebnnk accounts ofCompany 1,

   Company 2,and Company 3,asw eliasRaulGorrin Belisario'sown personalbank accountatH SBC

   PrivateBank(Suisse)SA,inSwitzerland,inordertopromotetheillegalbriberyscheme.
                        Raul Gorrin Belisario, CLA UDIA PATRICIA D IA Z GU ILLEN, and

   ADRIAN JOSE VELASQUEZ FIGUEROA,togetherwith others,did causebribesto bepaid for
   the beqefitofCLAU DIA PATR IC IA D IAZ G UILLEN ,including through herspouse,A DRIAN

   JOSE VELASQUEZ FIGUEROA,in orderto promotetheillegalbribery scheme.
                 f.     CLA UDIA      PATIU CIA      D IAZ    GU ILLEN      and A DRIAN       JO SE

   VELASQUEZ FIGUEROA,together and with others,including Raul Gorrin Belisazio,caused
   paym entsto beto bem adeto third-party vendorsto coverexpensesforvariousluxury item son behalf

   ofCLAUDIA PATRICIA DIAZ GUILLEN and ADRIAN JOSE VELASQUEZ FIGUEROA in
   the Southern DistrictofFlorida and elsewhere,in orderto prom ote the illegalbribery schem e.

          AllinviolationofTitle18,UnitedStatesCode,Section 1956(h).
                                          CO UNT S 2-3
                                Laundering ofM onetary lnstrum ents
                                  (18U.S.C.jj1956(a)(2)(A)and2)
                  Paragraphs 1 thzough 7 and 10 ofthis lnform ation are realleged and incorporated by

   reference asthough fully setforth herein.
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!
                12.     Onoraboutthedatessetforth below,inM iam i-DadeCounty,intheSouthernDistrict

       ofFlorida,and elsewhere,the defendants,CLAU DIA PATRICIA D IA Z GU ILLEN and AD W A N

       JOSE VELASQUEZ FIGUEROA,knowinglytransported,transmitted,andtransferred,andaided
       and abetted, and caused,the transport,transm ission,and transfer of,and attem pted to transport,

       transm it,and transfer,a m onetary instrum ent and funds to a piace in the U nited States from and

       through a place outside the United States,w ith the intentto prom ote the carrying on ofspecified

       unlawfulactivity,thatis,(a)aviolation oftheFCPA underTitle 15,United StatesCode,Sections
       78dd-2 and 78dd-3,and (b)anoffenseagainstaforeignnation,speciscally Venezuela,involving
       bribery ofa public officialand the m isappropriation,theft,and em bezzlem entofpublic funds by or

       forthebenefitofapublicofficial,inviolationofTitle18,UnitedStatesCode,Section 1956(a)(2)(A),
       assetforth in each count:

         Count .ApproximateDate efendant(s)                          FinancialTransaction
            2         M arch 15,2013   CLA UDIA PA TRICIA            W ire transferin the am ountof
                                       DIAZ GUILLEN and              approximately $281,051from an
                                          TtlA.
                                              N JO SE                accountin Sw itzerland to an
                                          LASQUEZ FIGUEROA accountlocated in theUnited
                                                                     States,specifcally in Southern
                                                                     DistrictofFlorida.

            3         M ay 17,2013     CLA UDIA PA TR ICIA           W ire transferin the am ountof
                                       DIAZ GUILLEN and              approximately$4,000,000 from a
                                       AD RIAN JOSE                  accountin Switzerland to an
                                       VELASQUEZ FIGUEROA accountlocated in theUnited
                                                                     States,specifically in the Southe
                                                                     DistrictofFlorida.


                lnkiolation ofTitle 18,United StatesCode,Sections1956(a)(2)(A)and2.




                                                      5
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                                               FO RFEIT URE
                                           (18U.S.C.j982(a)(1))
                      The allegations contained in this lnform ation are re-alleged and incop orated by

       referenceasthough fully setforth herein forthepurpose ofalleging forfeitureto theU nited Statesof

       certain property in which the defendants,CLA UD IA PA TRICIA D IA Z G UILLEN and A DRIAN

       JOSE VELASQUEZ FIGUEROA,haveaninterest.
              2.      U pon conviction of a violation ofTitle 18,United States Code, Section 1956,as

       alieged in this Infonnation, CLAUDIA PATRICIA DIAZ GUILLEN and ADRIAN JOSE

       VELASQUEZ FIGUEROA shallforfeittotheUnited Statesanyproperty,realorpersonal,involved
I
       in such offense,ancl/orany property traceable to such property,pursuantto Title 18,United States

       Code,Section982(a)(l).
                      lfany propedy subjectto forfeiture,asa resultofany actor omission ofthe
       defendants,

              (a)     cannotbelocatedupontheexerciseofduediligence,
                      hasbeen transfcrred orsold to,ordeposited w ith,a third party,

                      hasbeenplacedbeyondthejurisdictionoftheCourt,
              (d)     hasbeensubstantiallydiminishedinvalue,or
              (e)     hasbeencommingledwithotherpropel'tywhichcalmotbedividedwithoutdifficulty,
       the United Statesshallbeentitled to forfeiture ofsubstituteproperty underthe provisionsofTitle 21,

       United States Code,Section 853(p),as incorporated by Title 18,United States Code,Section
       982(b)(1).
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          A11pursuanttoTitle l8,United StatesCode,Section 982(a)(1)and theproceduressetforth
    inTitle21,United StatesCode,Section 853,asincop orated by Title 18,United StatesCode,Section

    982(b)(1).

               W                                      p#              3 A>
              yk &.. k- ?w x
    A RI A FAJA RDO ORSHAN                          DAN IEL S.G 14N,ACTm G CHIEF
        TED STATES ATTORN EY                        CRIM m AL DIVISION ,FRA UD SECTION
    SOUTHERN DISTRICT OF FLORIDA                    U.S.DEPARTM ENT OF JUSTICE
                                                                         *'     .
                    .:

    By:                                             By:
       Kurt unkenheim er                               Vanessa Sisti, 'tantChief
       AssistantUnited StatesAttorney                  PaulA.Hayden,TrialAttorney
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                                           UNITED STATES DISTRICT CO URT
                                          SOUTH ERN DISTRICT O F FLORIDA

UNITED STATES OF AM ERICA                              CASE NO.


CLAUDIA PATRICIA DIAZ GUILLEN,and                      CERTIFICATE OF TRIAL ATTORNEYA
ADRIAN JOSE VELASQUEZ FIGUEROA,
                                                       Superseding CaseInform ation:
                            Defendants.     /
CourtDivijion:(selectOne)                              New defendantts)                 Yes
 z     M lami           Key W est                      Num berofnew defendants
       FTL              W PB          FTP              Totalnumberofcounts

                1have carcfully considered theallegationsofthe indictment,thenumberofdefendants,the numberof
                probablewitnessesand thelegalcomplexitiesoftheIndictment/lnformation attachedhereto.
                Iam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                Courtin setting theircalendars and scheduling criminaltrials underthe mandate ofthe Speedy Trial
                Act,Title28 U.S.C,Section3161.
                Interpreter:      (YesorNo)      Yes
                Listlanguageand/ordialect        Soasîsh -
                Thiscasewilltake 8-10 daysforthepartiestotry.
                Pleasccheck appropriate category andtypcofoffenselistedbelow:


       I        0 to 5 days                                   Petty
       11       6 to 10 days                 z                M inor
       III      11to20days                                    M isdem.
       IV       21to 60 days                                  Felony
       V        61daysand over
       6.       HasthiscasepreviouslybeenfiledinthisDistrictCourt?              (YesorNo)          No
         Ifyes:Judge                                   caseNo.
        (Attachcopyofdispositiveorder)                                              -              -
        Hasacomplaintbeenfiledinthismatler?            (YesorNo)           NO
         Ifyes:MajistrateCaseNo.
        Relatedm lscellaneousnum bers:
        Defendantts)infederalcustodyasof-
        Defendantts)instatecustodyasof
        Rule20from theDistrictof                                                -         -   --


        lsthisapotentialdeathpenaltycase?(YesorNo)                NI)
                Doesthiscmse
                           'originate from amatterpending in theCentralRegion ofthe U.S.Attorney'sOffice
                priortoAugust9,2013(Mag.JudgeAlicia0.Valle)?                    Yes                No 4
       8.       Doesthiscaseoriginatefrom amatterpending intheN ol-thernRegion ofthe U.S.Attorney'sOffice
                priorto August8,2014 (Mag.JudgeShanîek M aynard)?               Yes                No z
                Doesthiscaseoriginatefrom amatterpending in theCentralRegion ofthe U.S.Attorney'sOffice
                priortoOctober3,2019(Mag.JudgeJaredStr . ?
                                                         R'/
                                                           //      .       '    Yes                No z
                                                              .        .   N
                                                              KURTK.LUNKENHEIMER
                                                              A SSISTAN T UNITED STA TES ATTORN EY
 .penaltysheetts)attached                                     FloridasarNo.
                                                                          /courtIo No.A.5501535 psvgsacx
Case 1:20-cr-20217-CMA Document 1 Entered on FLSD Docket 10/30/2020 Page 9 of 12




                            UNITED STATES DISTRICT COURT
                            SO UTH ERN DISTRICT O F FLO R ID A

                                      PENA LTY SH EET


    Defendant's Nam e: CLA UD IA PA TRICIA DIAZ G U ILLEN

    Count#:1

    Conspiracy to Com m itM onpy Laundering

    Titlel8,UnitedStatesCode,Sedion 19j6(h)
    *M ax.Penalty: 20 years'im prisonm ent

    Counts#:2-3

    M oney Lakm dering                  -     .-                           -




    Title18,UnitedStatesCode,Section 1956(a)(2)(A)
    *M ax.Penalty: 20 years'im prisonm ent




    ARefers only to possible term ofincarceration,doesnotinclude possiblefines,restitution,
             specialassessm ents,parole term s,or forfeituresthatm ay be applicable.




                                                                                              /
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                            UNITED STATES DISTRICT COURT
                            SO UTH ER N DISTR IC T O F FL OR ID A

                                       PENALTY SHEET


    Defendant'sNam e: ADRIAN JOSE VELASQUEZ FIGUEROA
    Count#:1

    Conspiracy to Com m itM oney Laundering

    Title18,United StatesCode,Section 1956(h)
    WM ax.Penalty: 20 years'imprisonm ent

    Counts#:2-3

    M oney Laundering

    Title18,UnitedStatesCode,Section 1956@)(2)(A)
    *M ax.Penalty: 20 years'imprisonm ent




    *R efers only to possibleterm ofincarceration,doesnotinclude possible fines,restitution,
              specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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 AO 455(Rev.01/09)Wai
                    vcrofanIndictment '

                                 U NITED STATES D ISTRICT COURT
                                                         forthe
                                               Southern DistrictofFlorida

               UnitedStatesofAmerica
                           V.                                    CmseNo.
             Claudia Patricia Diaz Guillen

                       dleJe??(/(??;/
                                             W AW ER OF AN INDICTM ENT

       1understandthatlhavebeen accused ofone ormoreoffensespunishableby imprisonmentformorethanone
 year.1wasadvised in open coul'
                              tofmy rightsand thenatureofthe proposed chargesagainstme.

        Afterreceiving thisadvice,lwaivemy rightto prosecution by indictmentand consentto prosecutionby
 infonnation.



 Date:
                                                                                  Defendant'
                                                                                           .
                                                                                           çsignature



                                                                             Signatureofdefendant'
                                                                                                 aattorney


                                                                            Printednameofdefendant'
                                                                                                  sattorney


                                                                                   Judge'
                                                                                        ssi
                                                                                          gnature


                                                                              Judge'
                                                                                   sprintednameandtitle
Case 1:20-cr-20217-CMA Document 1 Entered on FLSD Docket 10/30/2020 Page 12 of 12



 AO455(Rev.01/09)LWaiverofanlndictment   .   - .- . -                                        -'   '



                                 U NITED STATES D ISTRICT COURT
                                                                  forthe
                                                        Southern DistrictofFlorida

                United StatesofAmerica
                            V.                                            CaseN o.
           Adrian Jose Vel
                         asquez Figueroa



                                                 W AIVER O F AN IN DICTM ENT

       1understand thatIhavebeen accused ofoneormoreoffensespunishableby imprisonmentformorethan one
 year.1wasadvised in open courtofmy rightsandthenatureofthe proposed chargesagainstme.

        Aoerreceivingthisadvice,1waivemy righttoprosecution by indictmentand consentto prosecutionby
 information.




                                                                                        Defendant'
                                                                                                 ssignature




                                                                                          Jl/tfge'ssignature


                                                                                     Jl/t
                                                                                        fge'
                                                                                           Jprinted nameandtitle




                                                                                                                   1
